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                             Exhibit 1
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Reg. No. 5,452,866           Metallica (CALIFORNIA PARTNERSHIP)
                             C/o Wg&s, Llp
Registered Apr. 24, 2018     10990 Wilshire Blvd., 8th Floor
                             Los Angeles, CALIFORNIA 90024
Int. Cl.: 15                 CLASS 15: Guitar picks; drum sticks

Trademark                    FIRST USE 10-00-2016; IN COMMERCE 10-00-2016

Principal Register           The mark consists of the stylized word "METALLICA".

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        Case: 1:19-cv-06915 Document #: 1-1 Filed: 10/21/19 Page 27 of 28 PageID #:42




Reg. No. 5,452,867           Metallica (CALIFORNIA PARTNERSHIP)
                             C/o Wg&s, Llp
Registered Apr. 24, 2018     10990 Wilshire Blvd., 8th Floor
                             Los Angeles, CALIFORNIA 90024
Int. Cl.: 25                 CLASS 25: Bandanas; cloth bibs; dresses; infantwear; jackets; jerseys; leggings; pants; shirts;
                             shorts; sweaters; sweatpants; sweatshirts; tank tops; thermal shirts; t-shirts; tunics; vests;
Trademark                    gloves; headwear

Principal Register           FIRST USE 9-00-2016; IN COMMERCE 9-00-2016

                             The mark consists of the stylized word "METALLICA".

                             SER. NO. 87-617,929, FILED 09-21-2017
        Case: 1:19-cv-06915 Document #: 1-1 Filed: 10/21/19 Page 28 of 28 PageID #:43




Reg. No. 5,573,362           Metallica (CALIFORNIA PARTNERSHIP)
                             C/o Wg&s, Llp
Registered Oct. 02, 2018     10990 Wilshire Blvd., 8th Floor
                             Los Angeles, CALIFORNIA 90024
Int. Cl.: 16                 CLASS 16: Art books; art prints; blank journals; books in the field of entertainment;
                             calendars; decals; gift wrap paper; magazines in the field of entertainment; non-magnetically
Trademark                    encoded gift cards; posters; protective covers for paper, magazines and the like; printed sheet
                             music; songbooks; stencils; stickers
Principal Register
                             FIRST USE 10-00-2016; IN COMMERCE 10-00-2016

                             The mark consists of the stylized word "METALLICA".

                             SER. NO. 87-617,926, FILED 09-21-2017
